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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
------------------------------------------------------X

UNITED STATES OF AMERICA,

                v.
                                                            No. 1:21-cr-00053
EDWARD JACOB LANG,

                        Defendant.

------------------------------------------------------X

 DEFENDANT LANG’S MOTION FOR BAIL TO PLACE DEFENDANT
       ON CONDITIONAL RELEASE PENDING TRIAL

        Defendant, Edward Jacob Lang, by and through undersigned counsel, Martin H.

Tankleff and Steven Metcalf, respectfully moves this Court, pursuant to the Bail Reform

Act of 1984, 18 U.S.C. 3141, et seq., to release Mr. Lang on personal recognizance.

        Alternatively, if the Court is not amenable to release defendant on personal

recognizance, defendant moves this court to release defendant into the third-party

custody of his parents and commit him to the supervision of a High Intensity

Supervision Program (HISP) with GPS monitoring by local Pretrial Services.




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      If the Court deems that Lang is not entitled to bail, he respectfully moves for a

Court order permitting him to possess in his cell a laptop computer so he can review

all discovery and participate in his own defense.




Dated: August 23, 2021

                                               Respectfully Submitted,

                                               _________________________
                                               MARTIN H. TANKLEFF, ESQ.
                                               Metcalf & Metcalf, P.C.
                                               Attorneys for Lang
                                               99 Park Avenue, 25th Floor
                                               New York, NY 10016
                                               Phone 646.253.0514
                                               Fax 646.219.2012
                                               mtankleff@metcalflawnyc.com

                                               /s/ Steven A. Metcalf II, Esq.
                                               _________________________
                                               STEVEN A. METCALF II, ESQ.
                                               Metcalf & Metcalf, P.C.
                                               Attorneys for Lang
                                               99 Park Avenue, 25th Floor
                                               New York, NY 10016
                                               Phone 646.253.0514
                                               Fax 646.219.2012
                                               metcalflawnyc@gmail.com




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                          CERTIFICATE OF SERVICE

We hereby certify that, on August 23rd, 2021, the forgoing document was filed via the
Court’s electronic filing system, and sent to the AUSA via email, which constitutes
service upon all counsel of record.
                                                 Respectfully Submitted,


                                              _________________________
                                              MARTIN H. TANKLEFF, ESQ.
                                              Metcalf & Metcalf, P.C.
                                              Attorneys for Lang
                                              99 Park Avenue, 25th Floor
                                              New York, NY 10016
                                              Phone 646.253.0514
                                              Fax 646.219.2012
                                              mtankleff@metcalflawnyc.com

                                              /s/ Steven A. Metcalf II, Esq.
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                                              STEVEN A. METCALF II, ESQ.
                                              Metcalf & Metcalf, P.C.
                                              Attorneys for Lang
                                              99 Park Avenue, 25th Floor
                                              New York, NY 10016
                                              Phone 646.253.0514
                                              Fax 646.219.2012
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
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UNITED STATES OF AMERICA,

                v.
                                                            No. 1:21-cr-00053
EDWARD JACOB LANG,

                        Defendant.

------------------------------------------------------X

          MOTION TO REVIEW DENTENTION WITHOUT BOND

        Edward Jacob Lang (hereinafter “Defendant,” “Lang” or “Jake”), by and

through his attorneys, Martin Tankleff and Steven Metcalf, moves to have his detention

without bond status reviewed. Lang moves this Honorable Court to reimpose the

conditions of release that were set at the time of Lang’s arraignment. In support thereof,

he states as follows:

                                           PREAMBLE

        As far back as the 5th Century, humanity recognized that, “[w]hoever destroys a

soul, it is considered as if he destroyed an entire world. And whoever saves a life, it is




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considered as if he saved an entire world.” Which was written in the Talmud 1. We were

reminded of this core principle in 1993 when Shindler’s list came out and a famous line

in the movie stated, “Whoever saves one life saves the world entire.”

        This line, and the concept behind it, is quite simple, one man can make a

difference. In the case before this court, Jake Lang is that one man. He showed Phillip

Anderson humanity, by saving his life, with little to no regard for his own life. Jake’s

conduct was selfless, kind and establishes that Jake is a good person, and good people

still exist in this world. As Mr. Anderson has stated, “If it wasn’t for Jake, I would have

been killed by the police on January 6. I am alive today because he saved my life.” (See

Affidavit of Philip Anderson attached as Exhibit A)2.

        If there is any justice in our society, it is to grant bail to defendant, especially

since in 1988, undersigned counsel, while under indictment for double murder was

1
  The Talmud (‫ )תלמוד‬is considered an authoritative record of rabbinic discussions on Jewish law,
Jewish ethics, customs, legends and stories. It consists of the Mishnah, a record of oral traditions, and
the Gemara, which comments upon, interprets and applies these oral traditions. A section of the
Mishnah is followed by the Gemara on that section. There are two distinct Gemaras: the Yerushalmi
and the Bavli, and two corresponding Talmuds: Talmud Yerushalmi (Jerusalem Talmud) and the
Talmud Bavli (Babylonian Talmud); The word "Talmud", when used without qualification, usually
refers to the Babylonian Talmud. Neither Gemara is complete.
2
  Mr. Anderson has publicly come out as a witness as to what happened on January 6, 2021 (See,
https://news-block.com/the-police-killed-her-three-more-eyewitnesses-who-were-later-arrested-
speak-about-the-police-murder-of-protester-rosanne-boyland-on-january-6/;
https://www.thegatewaypundit.com/2021/07/philip-anderson-capitol-police-killed-rosanne-
boyland-know-holding-hand-died-audio/;        https://noqreport.com/2021/07/18/philip-anderson-
capitol-police-killed-rosanne-boyland-on-jan-6-she-was-holding-my-hand-when-she-died-audio/ (last
visited on August 20, 2021)

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released on one-million-dollar bail and reduced after several months of freedom. 3 Lang

is not charged with murder, and individuals around this Country, charged with more

serious crimes are granted bail.

       The defendant states the following in support of this request.

                                   I. INTRODUCTION

      1.    Mr. Lang now moves for Bail for the following reasons: (1) his treatment in

            a DC jail has violated his human rights, (2) his right to effective assistance of

            counsel is being deprived on a daily basis because he is unable to speak to

            his attorney’s in a confidential setting, and participate in his own defense

            because he cannot adequately review the discovery in this matter; (3) the

            presumption against bail for pretrial detainees.

      2.    The reasons set forth herein highlight how the government is unable to

            prove that Lang is a flight risk by a preponderance of the evidence; and

            instead, this case boils down to dangerousness, and whether the government

            can demonstrate that Lang should be detained pretrial because there are “no

3
  Judge Thomas Mallon also ordered that the youth, Martin Tankleff, 17, remain free on $1-
million bail after arraigning him on second-degree murder charges in his father's death. 2 Asst. Das
Barred in Tankleff Trial, 1988 WLNR 171272; Martin Tankleff has pleaded not guilty and is being held
in the Suffolk County Jail in lieu of $500,000 cash bail or $1 million bond. Seymour Tankleff Dies of
Injuries, 1988 WLNR 158438.




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            condition or combination of conditions will reasonably assure the

            appearance of the person as required and the safety of any other person and

            the community”. 18 U.S.C. § 3142(e)(1). 4

      3.    Lang went unarmed to the Capitol on January 6, 2021. As a United States

            citizen, he went there to stand for liberty, the Constitution, and assert his

            First Amendment Right.             Instead, he ended up saving someone’s life,

            watching people being beaten to death by police, being gassed and abused.

            What we have been seeing in the press is not the whole truth. The snippets

            of videos and snapshots do not reveal the truth of what happened on January

            6. Jake’s actions, in totality were heroic and lifesaving. If there is any doubt

            about that, just ask Phillip Anderson who also clung to Ms. Boyland as she

            died. (See Affidavit of Phillip Anderson attached as Exhibit A).




4
  See also United States v. Munchel, 2021 WL 1149196, at 4 (D.C. Cir. Mar. 26, 2021) (quoting 18 U.S.C. §
3142(f)(highlighting that “[t]o justify detention on the basis of dangerousness, the government must
prove by ‘clear and convincing evidence’ that ‘no condition or combination of conditions will
reasonably assure the safety of any other person and the community [which requires that defendant]
poses a continued articulable threat to an individual or the community that cannot be sufficiently
mitigated by release conditions.”).

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            •         makeamericastophate


                          Philip Anderson O @Teamsaveamerica
                          lm · d • Edited

                To all the people who called me a liar when I said
                "Rosanne Boyland was holding my hand when she died.
                We both were getting crushed to death as capitol police
                pushed and beat more people on top of us Instead of
                letting us get up."

                Here is the picture proving that I told the truth. You will
                see Trump supporters dragging my body away from
                Rosanne Boyland's body on my right. I never lie and I
                don't appreciate being called a liar by people who have
                done literally nothing for the conservative movement.




                o a "i}'
                •   Liked by fo gcitymidge and 200 ot hers
                makeamericastophate To all the people who couldn't believe the
                words, here's a picture ... more
                View all 19 comments
                foqcitvmidqe Woah, no wav. I haven't even heard of this.           O


                                 Q                                          G_!'




       4. We request that Jake be released into the third-party custody of his parents.

           Lang’s father, Ned, in particular is willing to cosigned and also put up

           collateral consisting of two parcels of land, totaling $100,000.00 in equity as

           collateral.5




5
  Ned Lang has informed the undersigned that he is not willing, nor able, to pay for any experts on
behalf of his son Jake. He has informed the undersigned that he can and will pay attorney’s fees at a
significantly reduced rate for his son. He has informed us that he would employ his son on a daily
basis.

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                            II. ARGUMENTS

                        POINT ONE
      DC JAIL: HUMAN RIGHT VIOLATIONS, ON A DAILY BASIS

5.   Lang’s physical abuse includes being dragged, shoved, denied regular shower

     access, and getting an entire can of mace in his face, while standing inside of

     cell with photos and a bible in his hand. Lang’s other abuses include sleep

     deprivation, verbal abuse, and being denied the right to counsel. Just

     recently, Lang was taken to “The Hole”, where he remained for two straight

     months, without a single disciplinary ticket. After being taken out of “The

     Hole”, he received a hero’s welcome upon returning to the Patriot Unit.

     Within 14 hours of being back on the Patriot Unit, the guards opened his’

     cell door, and maced him directly in his eyes. When Lang was maced he was

     standing in his cell with a bible in one hand and family photos in the other.

     Overall, Jake has been held in the hole in 24-hour a day solitary confinement

     on three separate occasions, totaling more than three months. While Jake is

     currently back on the Patriot Unit, the unit with other J6 Defendants at the

     DC jail, he has been and will continue to be subject to these abuses at

     anytime. The retaliation and scare tactics most likely will continue within days

     of us even filing this application.



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6.   Jake does not have access to all the discovery in this matter and has no

     guarantee that every time his name comes up in the jail that he will not

     continue to be harassed and used as a scapegoat inmate to raise false

     disciplinary charges against him to throw Jake in the box.

7.   Jake has been moved from regular housing to the hole (aka, the box or special

     housing unit). Each time this has occurred, there wasn’t a reasonable

     penological reason other than as a form of retaliation and/or harassment.

8.   Obviously, during the last seven months of Lang’s incarceration, it has

     become clear that individuals who are housed in the D.C. Jail, who are

     accused of committing crimes on January 6, 2021, at The Capitol are treated

     differently than all other prisoners who are housed in the jail. There is a clear

     deprivation of Equal Protection under the law. Many, including Lang, have

     suffered when the conditions of confinement are exposed publicly.

9.   Additionally, the government cannot demonstrate that no “reasonable

     condition, or combination of conditions exist that would ensure Jake’s return

     to court or the safety of all members of the community.” All necessary

     conditions can be obviated, such as conditions requiring Lang, if released, to

     not be able to possess, legally or illegally a firearm or other weapon, and his

     every movement can be monitored to the extent of house arrest. He also can


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     be precluded from even speaking to all other people besides his family and

     attorneys. An order of conditions can adequately mitigate any concerns.

10. The jail allows prisoners to leave their cells from anywhere from an hour a

     day to a few hours a day. Religious services are not allowed. Dozens of

     prisoners have to share the same fingernail/toenail cutter, without it being

     disinfected between each use. Exercise, especially outdoor access is limited

     or non-existent for Lang.

11. More disturbing is that Lang has not had had a single haircut or shave since

     he has been arrested on this matter.

12. Lang has not had the opportunity to either visit the law library or gain more

     materials than those being housed in restrictive housing.

13. The caselaw regarding the denial of human rights, especially for those housed

     as a pretrial detain, favor Lang’s application for bail. If the conditions have

     only worsened over the past several months, there is no likelihood that they

     will get better, and the longer that Jake is imprisoned, the more serious the

     violations rise to.

14. The D.C. District court has held, “with regard to the everyday administration

     of pretrial detention facilities, the Court is merely concerned with whether a

     “particular condition or restriction of pretrial detention is reasonably related


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     to a legitimate governmental objective”; if so, the detention facilities practice

     does not violate due process and thus should generally not concern the

     court. See Bell, 441 U.S. at 548, 99 S.Ct. 1861 (“[T]he operation of our

     correctional facilities is peculiarly the province of the Legislative and

     Executive Branches of our Government, not the Judicial.”). United States v.

     Medina, 628 F. Supp. 2d 52, 55 (D.D.C. 2009).

15. The Court in Mednia, supports the position that since the issues raised herein

     rise to the level of a Constitutional violation, this Court is empowered to

     grant relief.

16. There is no doubt that the Government will counter that Lang should file a

     grievance to address the human rights issues that are violating his

     Constitutional rights on a daily basis. However, this court is empowered to

     eradicate those violations by granting bail.

                                POINT TWO

THE CONSTITUTIONAL RIGHT TO ASSISTANT IN ONE’S DEFENSE AND
                SUPPLEMENT IF NECESSARY.

17. Defendant Lang, hereby through his counsel, respectfully reserves and

     preserves his right to make further submissions on this issue of because of




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            counsel’s inability to adequately communicate with Lang in a confidential

            setting.

      18. Jacob Lang currently remains in the D.C. jail, and for five months has literally

            been in his cell for 22 or 23 hours a day. He has very little privileged

            communications with his attorneys and cannot possibly review all of the

            video and audio discovery that in this matter. When the undersigned counsel

            visited Lang, the setup of the visiting area exposed counsel and Lang to have

            every word of their conversation overheard by anyone around.6

      19. Every Defendant has, at a minimum, the right to counsel. Such a right

            includes, but is not limited to, confidential communications with their

            counsel in person, by mail and via phone calls.

      20. In this case, our client, Defendant Lang’s right to communicate with his

            counsel has been severally infringed.

      21. In McKaskle, the U.S. Supreme Court highlighted:

               Faretta 's holding was based on the long-standing recognition
               of a right of self-representation in federal and most
               state courts, and on the language, structure, and spirit of the
               Sixth Amendment. Under that Amendment, it is the
               accused, not counsel, who must be “informed of the nature

6
 The day that the undersigned visited with Lang, another lawyer was sitting 2 spots down and we
were able to hear everything she was telling her client. Every word the client was saying to the lawyer,
Lang could hear.


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               and cause of the accusation,” who has the right to confront
               witnesses, and who must be accorded “compulsory process
               for obtaining witnesses in his favor.” The Counsel Clause
               itself, which permits the accused “to have the Assistance of
               Counsel for his defense,” implies a right in the defendant to
               conduct his own defense, with assistance at what, after all, is
               his, not counsel's trial.

      McKaskle v. Wiggins, 465 U.S. 168, 174, 104 S.Ct. 944, 949 (1984).

      22. The McKaskle principles remain the same to every one of these January 6,

            2021, Defendants.

      23. However, the pretrial conditions of the DC jail have created an environment

            where these Defendants, especially Defendant Lang are unable to assist in

            their own defense and are thus are not ensured effective assistance of

            counsel.

      24.    It is impossible to have a free-flowing conversation with Defendant Lang.

      25. Attorney-client meetings are in open cages7 where there is no confidentiality,

            everyone can hear the conversations including prison guards. Undersigned

            counsel experienced this when they visited with Jake at the D.C. Jail.

      26. Essentially, the Attorney-client privilege is nonexistent, depriving Jake of his

            fundamental constitutional right to counsel.


7
 When visiting Lang, the undersigned was told that Contact legal visits, where a defendant meets with
his lawyer in person at the jail, require the Defendant to then quarantine for 14 days.


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27. Considering the conditions that Jake is housed in, and the manner in which

     legal visits are conducted, the strong likelihood that the attorney-client

     privilege is sustainably intruded.

28. Finally, in light of the Supreme Court directives, “that remedies should be

     tailored to the injury suffered. Shillenger v. Haworth, 70 F. 3d 1132 (10th Cir.

     1995); US. v. Solomon, 679 F 2d 1246 (8th Cir 1982).

29. Lang is in an untenable environment, which the government closely

     monitors, whereby we believe there is the likelihood of an intrusion into the

     attorney-client privilege occurs daily and will continue throughout this case

     until there are changes made. How can we trust the government if we cannot

     communicate with our own clients at the jail or over the phone in a

     confidential manner? Something must be done here to ensure that we can

     have privileged communications with our client – such as granting of bail.

                               POINT THREE

            DEFENDANT’S NEED FOR ACCESS TO A LAPTOP
                   AS ALTERNATIVE RELIEF.

30. Every defendant has the right to review discovery materials in their own case,

     especially, January 6, 2021, Defendants as the Government has deemed these

     cases part of the largest criminal investigation and prosecution in US history.



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31. Defendant Lang is entitled to review every document, video, audio, and

     anything else that the FBI, Department of Justice, United States Attorney’s

     Office, or any other agency obtaining or generating video or audio materials.

     Such a review must not be dictated on whether his attorneys can visit him.

     No such burden should be placed on counsel or corrections, especially

     considering the financial and time-consuming burden it would place if

     undersigned counsel were required to sit with Jake at the jail and review each

     and every video.

32. “[I]n the usual case when production is ordered, a client has the right to see

     and know what has been produced.” See, e.g., Geders v. United States, 425 U.S.

     80, 96 S.Ct. 1330, 47 L.Ed.2d 592 (1976); Faretta v. California, 422 U.S. 806,

     95 S.Ct. 2525, 45 L.Ed.2d 562 (1975); United States v. Truong Dinh Hung, 667

     F.2d 1105, 1108 (4th Cir. 1981).

33. Failure to review discovery with Jake can rise to the level of ineffective

     assistance of counsel since a “defendant generally has a right to review the

     discovery materials that will be used against him at trial, United States v.

     Hung, 667 F.2d 1105, 1108 (4th Cir.1981),” Johnson v. United States, 2:07-CR-

     00924-DCN-3, 2014 WL 295157, at 5 (D.S.C. Jan. 27, 2014).




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34. Applications for accessibility for a laptop for pre-trial detainees is regularly

     granted around the country, and in some jurisdictions, there are specific

     policies in place:

        a. In United States v. Helbrans, 7:19cr497 (NSR), a Southern
           District of New York Case, an application was made for
           the defendant to have access to a laptop and internet so
           that the defendant may prepare his defense, which was
           granted (See Exhibit B);

        b. In United States v. Reid, et al, including Brandon Nieves, a
           Southern District of New York case, an application was
           made for the defendant to have access to a laptop “to
           permit clients to review large amounts of discovery in
           the case. Judge Halpern, granted the application. (See
           Exhibit C);

        c. Attached as Exhibit D, is a sample order by Judge
           Denise Cote of the Southern District of New York,
           granting a defendant the right to have access to a laptop
           computer and email access to communicate with his
           attorneys;

        d. In United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN), a
           Southern District of New York case, an application was
           made to give the defendant access to a laptop computer
           to review the discovery in the case. The Court granted
           the request. In light of the Court order, defendant has
           access to her laptop 13 hours a day, 7 days a week. (See
           Exhibit E);

        e. In United States v. Washington, 20 CR 30015, a Central
           District of Illinois case, an application was made for
           access to a laptop was granted. (See Exhibit F);



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      f. In the United States District Court for the Northern
         District of California, San Francisco Division, the Court
         has in place a Proposed Order Re Use of Digital Tablet
         in Custody to allow defendants to review discovery in
         their cases. (See Exhibit G);

      g. The CJA Panel, that represents prisoners housed in the
         Santa Rita County Jail, have issued a memo, “CJA Panel
         – Tablets and accessories to enable clients to access e-
         discovery at Santa Rita Jail.” (See Exhibit H);

      h. The Joint Electronic Technology Working Group issued
         a report Guidance for the Provision of ESI to
         Detainees on October 25, 2016. (See Exhibit I) A
         specific issue raised and addressed by the report was, “[a]
         represented defendant who is detailed pending trial
         must generally have the opportunity to personally review
         some or all of the discovery and disclosure, which is now
         commonly in ESI format.” (Report at 2);

      i.     The District of Columbia, Department of Corrections,
             as a policy titled Access to Legal Counsel, attached as
             Exhibit J. Therein, there is a policy whereby prisoners
             are able to review discovery on a laptop, however, the
             policy on it’s face has the potential to invade attorney-
             client privilege. Attachment C. Further, the alternative
             policy, identified in Attachment D, punishes prisoners
             who opt to participate in the alternative
             Surveillance/Voluminous Documents Review Program
             by moving their housing location and putting them in
             restrictive housing; and

      j.     In this case, a better alternative to granting Defendant
             with a laptop will be to grant bail. If Bail isn’t granted,
             there are concerns that the DC jail will not comply with
             Court orders and will invade the defendant’s attorney-
             clients privilege.


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35. Therefore, alternatively, Mr. Lang should be provided a laptop where he can

     view all the evidence that will be used against him:

       a. All written discovery provided by the Government;

       b. All audio, video and electronic discovery provided by the
          government;

       c. The ability to email and receive emails from his attorneys
          in a confidential manner and not monitored;

       d. The ability to generate notes, documents, and other
          relevant materials to aid in his own defense in a
          confidential matter, that will not be reviewed or
          examined by any Government employee or agent (i.e., a
          corrections employee); and

       e. A guarantee that no one shall access the laptop in an
          effort to gain access to attorney client privileged
          materials. The only people who shall have access to the
          computer shall be undersigned counsel (and their
          employees, agents and experts) and the defendant.


                               POINT FOUR

        THE NATURE AND CIRCUMSTANCES OF THE OFFENSE,
                 UNDER 18 U.S.C. 3142(G)(2).

36. In analyzing this first of the four Section 3142(g) statutory factors, “The

     Nature and Circumstances of the Defendant” the Klein court applied the

     following six subfactor analysis:



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           These considerations include whether a defendant: (1)
           “has been charged with felony or misdemeanor offenses;”
           (2) “engaged in prior planning before arriving at the
           Capitol;” (3) carried or used a dangerous weapon during
           the riot; (4) “coordinat[ed] with other participants before,
           during, or after the riot;” or (5) “assumed either a formal
           or a de facto leadership role in the assault by encouraging
           other rioters’ misconduct;” and (6) the nature of “the
           defendant’s words and movements during the riot,”
           including whether he “damaged federal property,”
           “threatened or confronted federal officials or law
           enforcement, or otherwise promoted or celebrated efforts
           to disrupt the certification of the electoral vote count
           during the riot.”

United States v Frederico Guillermo Klein, 2021 WL 1377128 at p. 6.

37. Here, Lang is not allegedly to have been at the front of the group of people

     at various stages of the approach to the Capitol building.

38. This Court can mitigate the dangerousness and any future danger posed with

     strict release conditions, such as GPS monitoring and home confinement.

     Lang did not enter Washington D.C. with any weapon. No dangerous

     weapons were recovered from his apartment at the time of his arrest.

39. What continues to be forgotten about this day is that it was chaos and there

     were various points where Officers are seen pushing crowds away and down.

     During Officers pushing the crowds back or down stairs, officers happened

     to drop some of their belongings.



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40. As a result, people who were there would then pick material up off the floor,

     such as shields that the officers dropped on the floor. That behavior is not

     tantamount to or the equivalent to Lang being dangerous or a treat at all in

     the future.

41. Overall, there is no evidence that Lang is a “flight risk” or a “danger to the

     community,” a community he, and his parents have lived in for many years.

     United States of America v. Michael Joseph Joy, 21-CR-00108 (TSC), 2021 WL

     2778559, at p. 2 (D.D.C. July 2, 2021).

                               POINT FIVE

            HISTORY AND CHARACTERISTICS OF MR. LANG,
                   UNDER 18 U.S.C. § 3142(G)(3).

42. Edward is a twenty-six-years old, with strong ties to his community. He has

     personal relationships with members of the local business community, law

     enforcement, friends, and family. He not on probation or parole, and

     nothing in his past or current history supports the conclusion that he is

     dangerous to anyone, a risk of flight, and/or incapable of complying with




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            court-imposed restrictions designed to assure his return to court and protect

            the community from future harm. 8

      43. In applying 18 U.S.C. Section 3142(g)(3) to the above-mentioned facts to

            Edward’s life, the only reasonably conclusion is that such factors weigh in

            favor of pretrial release.

      44. A Georgia state woman died right in front of Mr. Lang. He then tried to save

            her, and quickly rushed to the aid of others, and saved another man’s life.

      45. The government cannot provide evidence of a specific articulated threat to

            the community, or a risk of danger to any specific person. Edward Lang

            respectfully asks this Court to grant him pretrial release under the above cited

            line of cases in Klein and Norwood, and other recent precedent out of the D.C.

            Circuit Court and D.C. District Courts, regarding the release of persons

            accused of crimes related to the January 6, 2021, incident at the United States

            Capitol.

      46. The law mandates Edward Lang’s release, because the government cannot

            prove by a preponderance of the evidence that Edward Lang poses a risk of

            flight, and the government has not proven by clear and convincing evidence


8
  There is a New York City case, which Lang has retained counsel on where Lang would be statutorily
ROR upon arraignment but has yet to do so because of him being held in this matter. Similarly, there
is another matter in Ohio that can easily be cleared up upon Lang merely appearing in Court.

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     that Mr. Lang poses a danger to the community. Moreover, the offenses

     charged do not qualify for detention. Without question, a combination of

     conditions, including GPS monitoring, will reasonably ensure his appearance

     in court, and the safety of the community. Because the events that took

     place at the Capitol on January 6, 2021, are unique to that day and not

     indicative of a future event, Edward poses no ongoing fear or threat.

47. In applying 18 U.S.C. Section 3142(g)(3) to the above-mentioned facts to

     Lang’s life, the only reasonably conclusion is that such factors weigh in favor

     of pretrial release.

                                      POINT SIX

     THE GOVERNMENT HAS STATED THAT THEY WILL NOT BE ABLE TO
      SATISFY ALL OF THEIR DISCOVERY OBLIGATIONS, SPECIFICALLY,
                 B RADY MATERIAL UNTIL POSSIBLY 2022


48. The government has a duty to disclose all material that is not just exculpatory,

     but favorable to the accused, sufficiently in advance of a trial. Further, the

     Government has an ongoing duty to disclose such materials.

49. The government is further obligated to disclose all material that can be

     considered exculpatory, impeachment, etc. pursuant to the Rules of

     Evidence and Supreme Court precedent. (See, e.g., Brady v. Maryland, 373 U.S.



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     83 (1963); Kyles v. Whitley, 514 U.S. 419 (1995); Giglio v. United States, 405 U.S.

     150 (1972); United States v. Agurs, 427 U.S. 97 (1976); United States v. Bagley,

     473 U.S. 667 (1985); Strickler v. Greene, 527 U.S. 263 (1999); Mackabee v. United

     States, 29 A.3d 952 (D.C. 2011) and Miller v. United States, 14 A.3d 1094 (D.C.

     2011))

50. The Government in recent court appearances have publicly acknowledged

     that they most likely will not be able to satisfy all of their discovery

     obligations, especially their obligations to disclose all Brady materials. (See, e.g.,

     https://beckernews.com/22-the-doj-admits-it-is-withholding-potentially-

     exculpatory-evidence-in-january-6-criminal-cases-in-legal-filing-40792/;

     https://www.npr.org/2021/07/27/1013500073/the-justice-department-is-

     struggling-to-bring-capitol-riot-cases-to-trial-heres-;

     https://www.nytimes.com/2021/08/10/us/politics/jan-6-investigation-

     evidence-speedy-trials.html; https://www.washingtonpost.com/local/legal-

     issues/capital-riot-evidence-cost/2021/07/16/d5e81bdc-e404-11eb-8aa5-

     5662858b696e_story.html (all last visited on 8-19-2021)

51. The defendant should not remain in prison any longer unless the government

     states affirmatively that every single piece of discovery, including information




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           favorable to the accused has been disclosed. If not, the defendant should be

           released on bail.

     52. The Government has publicly stated that materials, such as grand jury

           transcripts, videos, exculpatory material, and other materials may not be fully

           disclosed until 2022. No defendant should remain in prison, especially a

           defendant that is not charged with the death of someone, be denied bail.

                                VII. CONCLUSION

       WHEREFORE, for the foregoing reasons, and any/all others which may

appear in our reply brief, at a full in-person hearing on this matter, and any others this

Court deems just and proper, defendant through counsel, respectfully requests that he

be released on personal recognizance.

      FURTHERMORE, if that request is denied, defendant requests as an

alternative, that he be released on Third Party Custody and placed into the High

Intensive Supervision Program of the Pretrial Services Agency conditioned on

reasonable conditions including but not limited to electronic monitoring, work release

and curfew. The additional conditions of release that we propose are:

      (1) $200,000.00 cosigned by 2 financially responsible persons (frp), where both

of Jake’s parents are willing to cosign at $100,000.00 for each parent;




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       (2) Jake’s father will also put up collateral consisting of two parcels of land, totally

$100,000.00 in equity as collateral;

        (3) Drug testing/treatment as directed by pre-trial services;

        (4) Home incarceration;

        (5) Electronic monitoring; and

        (6) for Lang not to possess firearm/destructive device/other weapon.

These “combination of conditions of release would reasonably assure the safety of the

community.” Cf. United States v. Tanious, No.21-3034 (D. C. Cir., Sept. Term 2020), 1:21-

cr-00222 (TFH) (citing United States v. Munchel, 991 F.3d 1273, 1282 (D.C. Cir. 2021).

        FINALLY, if all forms of pre-trial release are denied, undersigned counsel

requests that this Court issue an order granting defendant Edward Jacob Lang the right

to possess in his cell at the D.C. Jail (or any place where he is incarcerated) a laptop9

that contains:

               a. All written discovery provided by the Government;

                b. All audio, video and electronic discovery provided by the
                   government;

               c. The ability to email and receive emails from his attorneys
                  in a confidential manner and not monitored;



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 In the alternative to a laptop, another form of an electronic device, such as a tablet whereby Jake can
review all the discovery, including audio/video and documentary evidence, and email his attorneys.

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            d. The ability to generate notes, documents, and other
               relevant materials to aid in his own defense in a
               confidential matter, that will not be reviewed or
               examined by any Government employee or agent (i.e., a
               corrections employee); and

            e. A guarantee that no one shall access the laptop in an
               effort to gain access to attorney client privileged
               materials. The only people who shall have access to the
               computer shall be undersigned counsel (and their
               employees, agents and experts) and the defendant.

Dated: August 23rd, 2021


                                             _________________________
                                             MARTIN H. TANKLEFF, ESQ.
                                             STEVEN A. METCALF, ESQ.
                                             Metcalf & Metcalf, P.C.
                                             Attorneys for Defendant
                                             99 Park Avenue, 25th Floor
                                             New York, NY 10016
                                             Phone 646.253.0514
                                             Fax 646.219.2012
                                             mtankleff@metcalflawnyc.com
                                             metcalflawnyc@gmail.com




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